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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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-                                    :                            Chapter 15
In re:                               :
                                     :                            Case No. 18-11094 (SCC)
PERFORADORA ORO NEGRO, S. DE R.L. :                               (Jointly Administered)
DE C.V., et al.,                     :
                                     :
Debtors in a Foreign Proceeding.     :
                                     :
---------------------------------x
-
GONZALO      GIL-WHITE, PERSONALLY   :                            Adv. Pro. No. 19-01294
AND IN HIS CAPACITY AS FOREIGN       :
REPRESENTATIVE OF PERFORADORA        :
ORO NEGRO, S. DE R.L. DE C.V. AND    :
INTEGRADORA DE SERVICIOS             :
PETROLEROS ORO NEGRO, S.A.P.I. DE    :
C.V.,                                :
                                     :
                         Plaintiff,  :
                                     :
                   -against-         :
                                     :
ALP ERCIL, et al.,                   :
                                     :
                         Defendants. :
---------------------------------x


                                       CERTIFICATE OF SERVICE

         I, Scott D. Musoff, hereby certify, under penalty of perjury, that copies of the foregoing

John Fredriksen’s Motion For Leave to File Under Seal have been duly served on the 11th day of

October 2019 and were transmitted via the court’s CM-ECF system upon all parties.1


Dated: October 14, 2019                                                   /s/ Scott D. Musoff
       New York, New York                                                 Scott D. Musoff

1
 John Fredriksen retains all defenses or objections to the lawsuit, the court’s jurisdiction, and the venue of the
action, and waives only any objections to service.
